      Case 1:25-cv-01659-TJK          Document 24-1        Filed 06/10/25      Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 SHIRA PERLMUTTER,

       Plaintiff,
                                                    Case No. 25-cv-01659-TJK
 v.

 TODD BLANCHE et al.,

       Defendants.



       [PROPOSED] ORDER GRANTING PLAINTIFF SHIRA PERLMUTTER’S
                MOTION FOR A PRELIMINARY INJUNCTION

       This matter is before the Court on Plaintiff’s Motion for a Preliminary Injunction. After

consideration of that Motion and all related filings, it is hereby ORDERED that Plaintiff’s Motion

is GRANTED for substantially the same reasons raised in Plaintiff’s memorandum in support of

her Motion. The Court therefore ORDERS:

       1.      That Defendant Todd Blanche is enjoined from exercising the powers of acting
               Librarian of Congress, all Defendants are enjoined from purporting to appoint any
               other individual to be acting Librarian of Congress, and Defendant Paul Perkins is
               enjoined from exercising the powers of acting Register of Copyrights;

       2.      That Defendants not attempt to remove Plaintiff Shira Perlmutter from her office
               as Register of Copyrights and Director of the Copyright Office; or in any way
               treat her as having been removed, denied, or obstructed in accessing any of the
               benefits or resources of her office; or otherwise obstruct her ability to carry out
               her duties, absent a decision by a lawfully appointed Librarian of Congress to
               remove her from that office;

       3.      That Defendants not treat any individual other than Plaintiff Shira Perlmutter as
               the Register of Copyrights and Director of the Copyright Office, absent a decision
               by a lawfully appointed Librarian of Congress to remove her from that office; and

       4.      That Defendants take no steps to appoint an acting Librarian of Congress because
               they do not possess that authority under the U.S. Constitution or pursuant to the
               Federal Vacancies Reform Act.


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     Case 1:25-cv-01659-TJK      Document 24-1   Filed 06/10/25   Page 2 of 2




SO ORDERED.



Dated: _______________________              ________________________________
                                            HON. TIMOTHY J. KELLY
                                            UNITED STATES DISTRICT JUDGE




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